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                        UNITED STATES DISTRICT COURT
                        WESTERN DISTRICT OF NEW YORK


LORI DIAZ PIOTTER,
            Plaintiff

      v.                                   Case No. 6:21-cv-6533

MANUFACTURERS AND TRADERS TRUST
COMPANY,
         Defendant




                  MEMORANDUM OF LAW IN SUPPORT OF
       PLAINTIFF’S OPPOSITION TO DEFENDANT’S MOTION TO DISMISS




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                                         ORAL ARGUMENT REQUESTED



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       Plaintiff Lori Diaz Piotter respectfully submits this Memorandum of Law in opposition to

Defendant Manufacturers and Traders Trust Company’s (“M&T” or the “Bank”) Motion to

Dismiss Plaintiff’s First Amended Complaint.

                                 PRELIMINARY STATEMENT

       Piotter is unambiguously an “applicant” under the Equal Credit Opportunity Act, 15

U.S.C. § 1691 (“ECOA”). The Bank’s argument for dismissal is not grounded on the statutory

definition of “applicant.” Rather it solely relies on caselaw where a plaintiff sought ECOA

protection unrelated to any proactive request for credit. The facts are distinct here.

       The ECOA’s statutory definition of “applicant” expressly includes credit requests under

an “existing credit plan.” Piotter’s claims are grounded on her requests that the Bank extend her

credit pursuant to the terms of her existing line of credit (“LOC” or “credit plan”), the Bank’s

denial of those requests, and its revocation of that credit plan.

       Even if the statutory definition does not precisely answer whether Piotter’s requests for

credit under an existing credit plan renders her an “applicant,” any uncertainty is dispelled by the

ECOA’s regulations. The regulatory definition of “applicant” includes those who have both

requested and received credit. This plainly includes Piotter.

       The Bank’s strained interpretation of “applicant” would illogically prohibit credit

discrimination only when a credit plan is agreed upon, and then allow subsequent discrimination

when a person seeks credit under that existing plan. The ECOA’s protections against credit

discrimination do not disappear the moment an existing credit plan is conceived. Piotter’s ECOA

claims are underpinned by her new requests for credit under her existing LOC. She is an

“applicant” as defined by both the ECOA, its regulations, and the decision in this District on

which the Bank bases its argument. The Bank’s Motion to Dismiss should be denied.




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                                           STANDARD OF REVIEW

           At the motion to dismiss stage, only facts contained in the complaint or incorporated by

reference will be considered, and all alleged facts are construed in a light most favorable to

Plaintiff. Faulkner v. Beer, 463 F.3d 130 (2nd Cir. 2006). A motion to dismiss must be defeated

when the plaintiff alleges facts which allow the court to draw the reasonable inference that the

defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

           Instead of citing Piotter’s First Amended Complaint directly, the Bank “summarizes” the

alleged facts in a declaration in support of the Bank’s motion to dismiss. See Decl. of Julia

Hilliker dated March 4, 2022, ¶ 4 (Doc. No. 25-1). But the declaration injects new facts and

unfavorably interprets Piotter’s allegations. See id ¶ 5 (an “overdraft” LOC appears nowhere in

the Complaint); ¶ 11 (Piotter does allege that she applied for, in the declarant’s verbiage, a “new

extension for additional credit” under her existing credit plan). Accordingly, the declaration is

irrelevant at this stage and should be disregarded. See Faulker, 463 F.3d at 134 (besides a limited

list of exceptions, inapplicable here, “consideration of a motion to dismiss under Rule 12(b)(6) is

limited to consideration of the complaint itself.”); see also L.R.Civ.P. 7(a)(3).

                                          FACTUAL BACKGROUND

           Piotter maintained a LOC with the Bank, which had a borrowing limit of $9,000. First

Am. Compl. ¶¶ 1-2 (Doc. No. 22).1 On March 17, 2021, Piotter requested credit from her LOC

for purposes of facilitating a wire transfer. ¶ 6. Upon request for identification, Piotter provided

the Bank’s manager her U.S. Army Military Identification (the “Military ID”) and explained she

had mistakenly forgot her driver’s license. ¶ 7. The manager informed Piotter he would need to

take her Military ID to another location for verification. ¶ 8. Piotter informed him that she



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    All paragraph symbols in this section refer to Plaintiff’s First Amended Complaint.


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needed to leave soon to return to work ¶ 8. When the manager did not return for some time,

Piotter departed the bank without her Military ID so she could timely return to work. ¶ 9.

       Piotter returned to the Bank the next day to retrieve her Military ID and finalize her

request to borrow money from her LOC to facilitate the wire transfer. ¶¶ 10-11. Upon returning,

another Bank employee accused Piotter of “bolting” out the previous day and depositing

“suspicious” checks. ¶ 22. Piotter explained that she had a limited amount of time due to her

work, and that the checks, related to her work, had already cleared. ¶ 23. When renewing her

request to borrow money from her LOC to facilitate a wire transfer, Piotter presented the

manager with a copy of the invoice she intended to pay and explained that it was the same

company in India to which she successfully wired money two months prior. ¶¶ 24-25. The

manager denied Piotter’s wire transfer request at that time. ¶ 26. Piotter then requested to borrow

money from her LOC with no related wire transfer; this request was also denied. ¶ 27.

       Later that same day, the manager emailed Piotter to request the invoice which provided

the basis for withdrawing money from her LOC to facilitate a wire transfer. ¶ 30. Piotter emailed

the invoice, and stated that she would return the next day to borrow money from her LOC to

complete her requested wire transfer. ¶ 31.

       When Piotter returned to the Bank on March 19, she was interrogated by Bank employees

about her military career, her company CommandTec, and the checks she deposited (which had

already cleared). ¶¶ 23, 34. Piotter eventually responded that she did not feel she needed to

answer such detailed personal information to use her LOC, which she always paid back and had

recently used to facilitate a similar wire transfer without incident. ¶ 35. A Bank employee then

aggressively and repeatedly asked Piotter “was that a threat?” Id.




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        Piotter then went to a teller to request credit from her LOC with no corresponding wire

transfer. ¶ 37. The Bank denied this request. ¶ 38. Piotter then went to the ESL Federal Credit

Union (ESL) where she successfully opened a line of credit, from which she borrowed money to

facilitate the wire transfer she unsuccessfully attempted to complete with the Bank. ¶ 39. A few

weeks later, Piotter received notice that the Bank had canceled her LOC, causing her credit score

to decrease. ¶¶ 40-41. This action followed.

                                      LEGAL ARGUMENT

  I.    THE ECOA AND REGULATION B EXPRESSLY PROTECT THOSE
        REQUESTING CREDIT UNDER AN EXISTING CREDIT PLAN FROM
        DISCRIMINATION

           A. Piotter’s Requests for Credit Rendered Her an “Applicant” Under the
              ECOA.

                     1. The purpose of ECOA.

        The Equal Credit Opportunity Act, 15 U.S.C. §§ 1691 et seq., is a civil rights law that

protects individuals and businesses against discrimination in accessing credit. The ECOA was

first passed to “eradicate credit discrimination waged against women, especially married women

whom creditors traditionally refused to consider for individual credit,” Anderson v. United Fin.

Co., 666 F.2d 1274, 1277 (9th Cir. 1982). Overall, “[t]he animating principle of the ECOA...is to

prevent discrimination against those applying for credit.” Capitol Indemnity Corp. v. Aulakh, 313

F.3d 200, 202 (4th Cir. 2002). Accordingly, the ECOA makes it unlawful for “any creditor to

discriminate against any applicant, with respect to any aspect of a credit transaction,” on the

basis of race, sex, color, and other designated characteristics. 15 U.S.C. § 1691(a)(1). To

establish a prima facie case under ECOA, “a plaintiff must show that (1) plaintiff was a member

of a protected class; (2) plaintiff applied for credit from defendants; (3) plaintiff was qualified for




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the credit; and (4) despite qualification, plaintiff was denied credit.” Anderson v. Wachovia

Mortg. Corp., 621 F.3d 261, 268 n.5 (3d Cir. 2010).

                      2. The ECOA defines an “applicant” as one who “requests” credit.

        The ECOA defines an “applicant” as:

        any person who applies to a creditor directly for an extension, renewal, or
        continuation of credit, or applies to a creditor indirectly by use of an existing
        credit plan for an amount exceeding a previously established credit limit.

15 U.S.C. § 1691a(b).

        While the word “applies” is undefined in the ECOA, other courts of appeals have

consistently defined it as a request: “the ordinary meaning of the term ‘applicant’ is one who

requests credit to benefit himself.” See Regions Bank v. Legal Outsource PA, 936 F.3d 1184,

1190–91 (11th Cir. 2019) (“English-language dictionaries both before and after the enactment

define the term ‘apply’ to refer to a request for something.”); see also Hawkins v. Cmty. Bank of

Raymore, 761 F.3d 937, 941 (8th Cir. 2014) (“the plain language of the ECOA unmistakably

provides that a person is an applicant only if she requests credit.”); RL BB Acquisition, LLC v.

Bridgemill Commons Dev. Grp., 754 F.3d 380 (6th Cir. 2014) (same); Alexander v. AmeriPro

Funding, Inc., 848 F.3d 698, 707 (5th Cir. 2017) (same).

        The decision in this District on which the Bank’s Motion rests, Tewinkle v. Capital One,

N.A., has similarly interpreted that the statutory definition of applicant “calls for [a] plaintiff to

seek credit (a new request, an extension of existing or additional credit or resisting termination of

credit).” 2019 WL 8918731, at *5 (W.D.N.Y. Dec. 11, 2019) (Scott, J.) report and

recommendation adopted, 2020 WL 2812519 (W.D.N.Y. May 29, 2020) (emphasis added).

        In turn, credit is defined as: “the right granted by a creditor to a debtor to defer payment

of debt or to incur debts and defer its payment or to purchase property or services and defer




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payment therefor.” 15 U.S.C. § 1691e(d). “The hallmark of ‘credit’ under the ECOA is the right

of a party to make deferred payment.” Riethman v. Berry, 287 F.3d 274, 277 (3rd Cir. 2002).

                     3. Piotter’s requests for credit unambiguously rendered her an
                        “applicant” under the statutory definition, 15 U.S.C. § 1691a(b).

       Piotter is an “applicant” under 15 U.S.C. § 1691a(b) because she made two discrete

requests for credit pursuant to her LOC. First Am. Compl. ¶¶ 27, 37-38. The type of credit she

sought was not a mortgage or other banking product, but the right to make deferred payments

pursuant to the terms of her existing credit plan. Even more dispositively, the statutory definition

of “applicant” expressly includes one who requests credit under an “existing credit plan” – like

Piotter’s LOC. See 15 U.S.C. § 1691a(b).

       Rather than “looking to the statutory scheme as a whole and placing the particular

provision within the context of that statute,” United States v. Epskamp, 832 F.3d 154, 162

(2016), the Bank does not even analyze the statutory definition of “applicant.” It argues that

Piotter cannot be considered an applicant because she requested credit under her existing credit

plan after it was already established. See Mem. of Law at 4-5 (Doc. No. 25-4). Put differently,

the Bank claims that the ECOA only protected Piotter when she first requested to establish the

credit plan. But any subsequent requests for credit pursuant to this existing credit arrangement

fall outside ECOA protection. This strained interpretation presents fundamental flaws.

       The Bank reads into the statutory definition a limitation that contradicts the text itself.

Neither does their construction function sensibly alongside other provisions of ECOA. The

ECOA prohibits discrimination against any applicant “with respect to any aspect of a credit

transaction.” 15 U.S.C. § 1691(a). The Bank’s preferred interpretation would prohibit

discrimination only when forming a credit plan, and allow discrimination for any later credit

requests under that existing credit plan. This perspective introduces a loophole big enough to



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swallow the statute’s central prohibition on credit discrimination for “existing credit plans,”

expressly included in the definition of “applicant.” See 15 U.S.C. § 1691a(b); cf. Tyson v.

Sterling Rental, Inc., 836 F.3d 571, 580 (6th Cir. 2016) (rejecting interpretation of ECOA that

would make it so easy to evade as to render it “a paper tiger”). Nor can the Bank square its

narrow interpretation of “applicant” with the ECOA’s requirement that all “applicants” must

receive a written explanation when the terms of an “existing credit arrangement” are modified.

See 15 U.S.C. § 1691(d)(2), (6).

       Here, Piotter directly applied for credit by requesting to borrow money pursuant to her

existing credit plan. First Am. Compl. ¶¶ 27, 37-38. In other words, Piotter sought to defer

repayment of the amount she requested to borrow pursuant to the terms of her existing credit

plan. Such allegations unambiguously make her an “applicant” under ECOA’s statutory

definition. See 15 U.S.C. § 1691a(b); see also Johnson v. James B. Nutter & Company, 438

F.Supp.3d 697, 709 (S.D.W.Va. 2020) (the plaintiff was an “applicant” because her “request to

participate in the [] program was a request to defer repayment of the reverse mortgage”).

       The ECOA’s protections against credit discrimination do not disappear the moment an

existing credit plan is conceived. The Bank’s interpretation of “applicant” should not be adopted.

                     4. Piotter is unambiguously an “applicant” under the reasoning of
                        TeWinkle.

       The Bank primarily relies on Tewinkle for its argument that Piotter cannot be an

“applicant” because she requested to borrow money from an existing credit plan. 2019 WL

8918731, at *3. But the facts as alleged in TeWinkle are not present here. The plaintiff in

TeWInkle never alleged that he requested to borrow money from an existing credit plan. Rather

that plaintiff asserted he was an “applicant” because he “wish[ed] to retain his [] account” after

the defendant closed his “checking account and its overdraft line of credit and debit card



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account.” Id. at *2, *4. The Tewinkle Court explained that because there was no link between any

active conduct of the plaintiff with the closure of his account, he was not an applicant under the

ECOA. Id. at *4. The court reasoned that the “plaintiff would have been an applicant if he sought

reconsideration or applied for renewal of the line of credit.” Id.

       The other decisions the Bank cites in support of its Motion are similarly inapposite.

Unlike Piotter, these plaintiffs never sought ECOA protection because their discrete requests for

credit were denied. See Kalisz v. Bank of Am., N.A., 2018 WL 4356768, at *1 (E.D. Va. Sept. 11,

2018) (the plaintiff alleged that the creditor refused to allow her “to make monthly payments on

a loan”); Stefanowicz v. SunTrust Mortg., 2017 WL 1103183, at *8 (M.D. Pa. Jan. 9, 2017) (the

“discrimination alleged occurred during the servicing of her existing loan”); Gorham-DiMaggio

v. Countrywide Home Loans, Inc., 592 F. Supp. 2d 283, 287, 291 (N.D.N.Y. 2008), aff'd on

other grounds, 421 F. App'x 97 (2d Cir. 2011) (the plaintiff alleged that the creditor “engaged in

discriminatory conduct by manipulating and misrepresenting escrow payment information,

causing her to default on her mortgage”).

       Piotter even falls under the TeWinkle Court’s own understanding of “applicant.” After

analyzing the statutory definition of “applicant,” the court reasoned that: “Extension, renewal, or

continuation of credit under § 1691a would appear to include customers with existing accounts.”

2019 WL 8918731, at *4 (emphasis added). The court also contrasted the inaction of the

plaintiff, who wished to keep his line of credit open but took no action to do so before initiating

suit, with an applicant under the ECOA who:

       seek[s] credit (a new request, an extension of existing or additional credit or
       resisting termination of credit).

Id. at *5 (emphasis added).




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        Piotter actively sought credit in the form of an extension of existing credit. She requested

that the Bank grant her the right to defer repayment on a newly-requested amount under the

terms of her existing credit plan. By directly applying for credit, Piotter is plainly an “applicant”

under 15 U.S.C. § 1691a(b). The Bank’s Motion to Dismiss should be denied.

            B. Regulation B Removes Any Doubt That Piotter is an “Applicant.”

        Piotter is unambiguously an applicant under the statutory definition, as shown above. But

any uncertainty about ECOA’s protection for credit requests pursuant to existing credit

arrangements is dispelled by its regulations, commonly known as Regulation B. The ECOA’s

regulations directly and definitively conclude that Piotter’s allegations make her an applicant.

        “When a court reviews an agency's construction of the statute which it administers, it is

confronted with two questions.” Florez v. Holder, 779 F.3d 207, 210 (2d Cir. 2015) (citing

Chevron, U.S.A., Inc. v. Natural Res. Def. Council, Inc., 467 U.S. 837, 842 (1984)). First, the

court asks “whether Congress has directly spoken to the precise question at issue – that is,

whether the statute is unambiguous.” Id. As always, “[i]f the intent of Congress is clear, that is

the end of the matter.” Id. But “if the statute is silent or ambiguous,” the second question for the

court is limited to “whether the agency's answer is based on a permissible construction of the

statute.” Id.

                     1. Regulation B expressly defines “applicant” to include those who
                        have received credit.

        Under the ECOA Congress granted the Bureau of Consumer Financial Protection power

to “prescribe regulations to carry out the purposes of [the Act].” 15 U.S.C. § 1691b(a). Such

regulations have been issued, known as Regulation B. See 12 C.F.R. § 1002 et seq.

        The regulatory definition of an “applicant” broadly includes “any person who requests or

who has received an extension of credit from a creditor.” See 12 C.F.R. § 1002.2(e). Other



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provisions reflect the same interpretation. See, e.g., 12 C.F.R. § 1002.2(m) (defining “credit

transaction” to mean “every aspect of an applicant’s dealings with a creditor regarding an

application for credit or an existing extension of credit…”) (emphasis added).

       The regulatory definition of “applicant” includes those who have both applied for and

received credit. Piotter alleges both: that she requested extensions of credit from the Bank in

March 2021, see First Am. Compl. ¶¶ 27, 37-38, and had previously received extensions of

credit from the Bank pursuant to the terms of her existing credit plan. Id. ¶¶ 11-12, 35.

       There is no question that Piotter is an applicant under Regulation B. It is equally clear

that she can rely on this regulatory definition in pursuing her claim because the ECOA expressly

incorporates the requirements imposed by Regulation B into the statute. See 15 U.S.C. §

1691a(g) (“Any reference to any requirement imposed under [the ECOA] or any provision

thereof includes reference to” the implementing rule and its provisions). Thus, the ECOA

provides a private right of action for violations of the Act or of Regulation B. See 15 U.S.C. §§

1691a(g), 1691e(a) (providing for civil liability against a creditor that fails to comply “with any

requirement imposed under this subchapter”); see also RL BB Acquisition, LLC v. Bridgemill

Commons Dev. Grp., LLC, 754 F.3d 380, 386 (6th Cir. 2014) (“A creditor who violates

Regulation B necessarily violates ECOA itself.”).

                     2. Regulation B is a reasonable implementation of ECOA and as such
                        is entitled to deference.

       The accurate interpretation of the ECOA is that the term “applicant” includes those who

request credit pursuant to an existing credit plan. It is thus reasonable to reinforce that

interpretation in Regulation B.

       Adopting the contrary reading of “applicant” urged by the Bank would lead to the serious

textual inconsistencies described above and run directly contrary to the ECOA’s purposes.



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Regulation B’s definition avoids those difficulties. And because the Bank’s strain inconsistent

interpretation would open a glaring loophole in ECOA, Regulation B’s definition is “necessary

or proper … to prevent circumvention or evasion” of the Act. See 15 U.S.C. § 1691b(a). Thus,

even if it is disagreed that the definition of “applicant” advanced by Piotter, and reflected in

Regulation B, is the best way to read ECOA itself, it should be concluded that the regulatory

definition constitutes, at minimum, a reasonable and permissible exercise of the Bureau’s broad

authority to issue rules to implement the Act. As such, the regulatory definition of “applicant”

includes Piotter and controls the outcome here. The Bank’s Motion to Dismiss should be denied.

 II.    IF PIOTTER IS NOT AN APPLICANT UNDER THE ECOA, HER STATE LAW
        CLAIMS SHOULD BE DISMISSED WITHOUT PREJUDICE

           A. N.Y. Exec. Law § 296’s Prohibition on Credit Discrimination Does Not
              Require that Piotter be Deemed an “Applicant.”

        N.Y. Exec. Law § 296–a(1)(b) prohibits a creditor from discriminating “in the granting,

withholding, extending or renewing, or in the fixing of the rates, terms or conditions of, any form

of credit” on the basis of a protected class. The state statutory prohibition on credit

discrimination includes no explicit requirement that the plaintiff be an “applicant.” See id.

        If Piotter’s ECOA claims are dismissed, her state law claims should be dismissed without

prejudice to allow her to refile them in state court. See Baylis v. Marriott Corp., 843 F.2d 658,

665 (2d Cir. 1988).

                                          CONCLUSION

        The statutory definition of “applicant” plainly includes those who request credit under an

“existing credit plan.” Piotter’s credit requests pursuant to her existing credit plan

unambiguously render her an applicant under the ECOA. The decision on which the Bank

wholly rests its Motion also explains why Piotter is an applicant, unlike someone who does not




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actively “seek credit.” To the extent the ECOA does not precisely answer whether Piotter falls

under its definition of applicant, the regulatory definition does. Piotter’s allegations even meet

the Bank’s own test that, “the plaintiff must have applied for a new extension of credit.” See

Mem. of Law at 8. Indeed, Piotter seeks ECOA protection because the Bank denied her new

requests for credit under the terms of her existing credit plan.

       Plaintiff Lori Diaz Piotter respectfully requests that the Court deny the Bank’s Motion to

Dismiss. In the alternative, Plaintiff’s state law claims should be dismissed without prejudice.


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